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AO EBA [Rev. 06:'09] Sut:poe.na to Tesli|'y at a Deposition in o Civi£ lnotion (Page 23

 

Civil Action No. 18»00042 KJM

PROOF OF SERVICE
(TI::`.§' section should not b.sft`!ed with the court unless required by Fed. R. Civ. P. 45.)

This Sllbpoena for fuente ofindiw'dtrai and tftfe. r]'ctn};i J ila‘|;’i£-! Hel°`l'l¢':'lrldez

 

was received by me on (dme,l 2 f l 1[19 .

§P{Iservedthe subpoenaby de]Iveringaoopy to the named individual as follows: by giving in hand 150
Jilaj::i_e. Hernandez a true and attested copy thereof. to wit: 3 Mount Uer_'non

 

 

Street, Apt. 1, Worcester, t~`t.'tt On(daf€) 21'11!19 ;Ol' at 4:49 pm

 

CI l returned the subpoena unexecuted because:

 

 

Unless the subpoena was issued on behalf of the United Statos, or one of its officers or agents, I have also
tendered to the witness fees for one day‘s attendarn:el and the mileage allowed by law, in the amount of

$ 41.23

My fees are $ for travel and 5 for ssrvices, for a total of'$ 0_00

l declare under penalty of perjury that this information is true.

Date: 2!11/201<.5

 

.S`erver 's signature

Robert Bolivar, Constable and Dieinterestéd"?etson

 

Printen' name and title

 

.S'erver '.s addre ss

Additional information regarding attempted sorvioo, eto:

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HID 88A (Rev. 02/l l) Subpoena to Testify ata Deposition in a Civil Action

UNITED STATES DISTRICT CoURT

for the
District of Hawaii

 

 

OHANA M|L|TARY CO|V|MUN|T|ES, LLC, el al. )
Plaimij" )
v. ) Civil Action No. 18-00042 KJ|\/l
oAnA BAnBEn )
) (If the action is pending in another district, state where:
Defendanl ) )

SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

To: J|LAR|E HERNANDEZ, 3 Mount Vernon Street, Apt. 1, Worcester, Massachusetts 01605

dTestimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
deposition to be taken in this civil action. If you are an organization that is not a party in this case, you must designate
one or more officers, directors, or managing agents, or designate other persons who consent to testify on your behalf
about the following matters, or those set forth in an attachment

 

Place: Hi|ton Garden lnn Worcester,35 Major Tay|or Boulevard, Date and Tlme:

Meeting Ftoom, Worcester, MA 01608 02/19/2019 3500 pm

 

 

 

 

The deposition will be recorded by this methOd! stenooraohicallv. video conference. and videotape

 

dProduction: You, or your representatives, must also bring with you to the deposition the following documents,
electronically stored information, or objects, and permit their inspection, copying, testing, or sampling of the
material:
Documents listed in Exhibit A attached hereto.

 

The provisions ot`Fed. R. Civ. P. 45(0), relating to your protection as a person subject to a subpoena, and Rule
45 (d) and (e), relating to your duty to respond to this subpoena and the potential consequences of not doing so, are
attached

Dace: 02/01/2'019 _\`\ `

CLERK OF COURT
OR

 

 

 

Signalure of Clerk or Deputy Clerk / Allorney ’s signpiure )

 

The name, address, e-mail, and telephone number of the attorney representing (name of party) Plaintiifs hana l\/li|itag

Communities, LLC and Forest City Residentia| Management, LLC , who issues or requests this subpoena, are:
JOACHlI\/| P. CGX (jcox@cfhawaii.com) and RANDALL C. WHATl'OFF (rwhattoff@cfhawaii.com)
Cox Fricke LLP, 800 Bethel Street, Suite 600, Honolulu, Hl 96813
Telephone: (808) 585-9440

 

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Federal Rule of Civil Procedure 45 (c), (d), and (e) (Effective 12/1/07)

(c) Protecting a Person Subject to a Subpoena.

(l) Avoiding Undue Burden or Expense,' Sanclions. A party or
attorney responsible for issuing and serving a subpoena must take
reasonable steps to avoid imposing undue burden or expense on a
person subject to the_subpoena. The issuing court must enforce this
duty and impose an appropriate sanction - which may include lost
earnings and reasonable attorney’s fees _ on a party or attorney
who fails to comply.

(2) Command to Produce Materials or Permit Inspection.

(A) Appearance Not Required. A person commanded to produce
documents, electronically stored information, or tangible things, or
to permit the inspection of premises, need not appear in person at the
place of production or inspection unless also commanded to appear
for a deposition, hearing, or trial.

(B) Objections. A person commanded to produce documents or
tangible things or to permit inspection may serve on the party or
attorney designated in the subpoena a written objection to
inspecting, copying, testing or sampling any or all of the materials or
to inspecting the premises _ or to producing electronically stored
information in the form or forms requested The objection must be
served before the earlier of the time specified for compliance or 14
days after the subpoena is served. If an objection is made, the
following rules apply:

(i) At any time, on notice to the commanded person, the serving
party may move the issuing court for an order compelling production
or inspection.

(ii) These acts may be required only as directed in the order, and
the order must protect a person who is neither a party nor a party’s
officer from significant expense resulting from compliance

(3) Quashing or Modifying a Subpoeua.

(A) When Require'd. On timely motion, the issuing court must
quash or modify a subpoena that:

(i) fails to allow a reasonable time to comply;

(ii) requires a person who is neither a party nor a party’s officer
to travel more than l00 miles from where that person resides, is
employed, or regularly transacts business in person _ except that,
subject to Rule 45(c)(3)(B)(iii), the person may be commanded to
attend a trial by traveling from any such place within the state where
the trial is hcld;

(iii) requires disclosure of privileged or other protected matter, if
no exception or waiver applies; or

(iv) subjects a person to undue burden.

(B) When Permz'tted. To protect a person subject to or affected by
a subpoena, the issuing court may, on motion, quash or modify the
subpoena if it requires:

(i) disclosing a trade secret or other confidential research,
development or commercial information;

(ii) disclosing an unretained expert’s opinion or information that
does not describe specific occurrences in dispute and results from
the expert’s study that was not requested by a party; or

(iii) a person who is neither a party nor a party’s officer to incur
substantial expense to travel more than 100 miles to attend trial.

(C) Specij_ying Conditions as an Alle)'native. In the circumstances
described in Rule 45(c)(3)(B), the court may, instead of quashing or
modifying a subpoena, order appearance or production under
specified conditions if the serving party:

(i) shows a substantial need for the testimony or material that
cannot be otherwise met without undue hardship; and

(ii) ensures that the subpoenaed person will be reasonably
compensated

(d) Duties in Responding to a Subpoena.

(1) Producing Documents or Eleclronically Slored Information.
These procedures apply to producing documents or electronically
stored information:

(A) Documents. A person responding to a subpoena to produce
documents must produce them as they are kept in the ordinary
course of business or must organize and label them to correspond to
the categories in the demand.

(B) Fo)~m for Producing Electronically Storea' lnformalion Not
Specijied. If a subpoena does not specify a form for producing
electronically stored information, the person responding must
produce it in a form or forms in which it is ordinarily maintained or
in a reasonably usable form or forms,

(C) Eleclronically Stored ]nfo)'malion Produced in Only One
Form. The person responding need not produce the same
electronically stored information in more than one form.

(D) Inaccessible Electronically Stored Informalion. The person
responding need not provide discovery of electronically stored
information from sources that the person identifies as not reasonably
accessible because of undue burden or cost. On motion to compel
discovery or for a protective order, the person responding must show
that the information is not reasonably accessible because of undue
burden or cost. If that showing is made, the court may nonetheless
order discovery from such sources if the requesting party shows
good cause, considering the limitations of Rule 26(b)(2)(C). The
court may specify conditions for the discovery.

(2) Claiming Privilege or Protection.

(A) Information Withheld. A person withholding subpoenaed
information under a claim that it is privileged or subject to
protection as trial-preparation material must:

(i) expressly make the claim; and

(ii) describe the nature of the withheld documents,
communications, or tangible things in a manner.that, without
revealing information itself privileged or protected, will enable the
parties to assess the claim.

(B) lnformation Produced. lf information produced in response to a
subpoena is subject to a claim of privilege or of protection as trial-
preparation material, the person making the claim may notify any
party that received the information of the claim and the basis for it.
After being notified, a party must promptly retum, sequester, or
destroy the specified information and any copies it has; must not use
or disclose the information until the claim is resolved; must take
reasonable steps to retrieve the information if the party disclosed it
before being notified; and may promptly present the information to
the court under seal for a determination of the claim. The person
who produced the information must preserve the information until
the claim is resolved.

(e) Ccntempt. The issuing court may hold in contempt a person
who, having been served, fails without adequate excuse to obey the
subpoena. A nonparty’s failure to obey must be excused if the
subpoena purports to require the nonparty to attend or produce at a
place outside the limits of Rule 45(c)(3)(A)(ii).

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EXHIBIT A
I. DEFINITIONS AND INSTRUCTIONS

As used in the document requests below, the following terms shall
have the following meanings, unless the context clearly indicates otherwise:

l. The terms “DOCUMENT” and “DOCUMENTS” are used in
the broadest sense of the words, and mean anything upon which is recorded any
form of data, information, communication, or Writing. This definition includes, but
is not limited to, electronically stored information, e~mail, documents stored on
computers, records, reports, papers, documents, photographs, books, letters, notes,
memoranda, statements, and video and audio tape recordings This definition
further includes, Without limitation, all copies and all drafts of such Documents.
This definition includes Documents wherever they are stored including, but not
limited to, Documents in off~site storage; Documents in the possession of your
attorneys or other agents; Documents on the Internet or in online storage, such as
Google Drive, BoX, iCloud, Dropbox, and similar services; and Documents on
phones, tablets, mobile devices, computers, servers, external hard drives, and/or
other similar devices.

2. The terms “YOU,” and “YOUR” shall refer to the subpoenaed
party and all of his, her, or its agents, representatives, attomeys, accountants,

auditors, partners, affiliates, assistants, employees and/or any other PERSONS or

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entity acting on his, her or its direction or control.

3. The term “PERSON"’ is used in the broadest sense of the word,
and includes a natural person, firm, association, organization, partnership, business
trust, corporation, or public entity.

4. The terms “COMMUNICATION” and
“COl\/ll\/[UNICATIONS” are used in the broadest sense of the Words, and mean
anything upon Which any form of data, information, or writing is transmitted or
conveyed._ This definition includes, but is not limited to, electronically stored
information, e~mail, text messages, chat logs, social media posts (e.g., Facebook,
lnstagram, Twitter, Snapchat, etc.), social media transmittals (e.g., Facebook
Messenger), letters, memoranda, voicemails, phone messages, etc. This definition
includes Communications Wherever they are stored, including but not limited to
Communications in off-site storage; Communications in the possession of your
attorneys or other agents; Communications on the lntemet or in online storage,
such as Google Drive, Box, iCloud, Dropbox, and similar services; and
Communications on phones, tablets, mobile devices, computers, servers, external
hard drives, and/or other similar devices.

5. The term “MCBH” refers to Marine Corp Base Hawai‘i and the

residential housing located at Marine Corp Base Hawai‘i.

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6. Each of these definitions and instructions is hereby
incorporated into each of the document requests to which it pertains
II. DOCUMENTS REQUESTED
. Any and all records in your possession; custody or control pertaining
to the following:
l. All COMMUNICATIONS between YC)U and Cara Barber that
refer or relate to MCBH.
2. All COMMUNICATIONS between YOU and any third party
(except your attorney(s)) that refer or relate to soil conditions at MCBH.
3. All COMMUNICATIONS between YOU and any third party
(except your attorney(s)) that refer or relate to pesticides at MCBH.
t 4. All COMMUNICATIONS between YOU and any third party

(except your attorney(s)) that refer or relate to construction dust at MCBH.

